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                                                Telephone: (310) 557-0050
                                              6 Facsimile: (310) 557-0056

                                              7 Special Litigation Attorneys for
                                                Plaintiff Richard A. Marshack,
                                              8 Chapter 7 Trustee for Eagan Avenatti, LLP

                                              9

                                             10                           UNITED STATES BANKRUPTCY COURT

                                             11             CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
                   LOS ANGELES, CALIFORNIA
L ANDAU L AW LLP
                      ATTORNEYS AT LAW




                                             12
                                                  In re                                           Case No. 8:19-bk-13560-CB
                                             13
                                                  EAGAN AVENATTI, LLP
                                             14                                                   Chapter 7
                                                                       Debtor
                                             15                                                   Adv. No. 8:20-ap-01086-CB

                                             16                                                   SUMMONS SERVICE EXECUTED RE
                                                                                                  SERVICE OF:
                                             17 RICHARD A. MARSHACK, CHAPTER 7
                                                TRUSTEE FOR EAGAN AVENATTI, LLP,
                                                                                                  1) COMPLAINT;
                                             18
                                                                    Plaintiff,
                                             19                                                   2) SUMMONS AND NOTICE OF STATUS
                                                v.                                                CONFERENCE IN ADVERSARY
                                             20                                                   PROCEEDING [LBR 7004−1]; AND
                                                THE X-LAW GROUP, PC, a professional
                                             21 corporation; FILIPPO MARCHINO, an                 3) PLAINTIFF’S NOTICE OF REQUIRED
                                                individual; ELBA HERNANDEZ, individually          COMPLIANCE WITH FRBP 7026 AND
                                             22 and as personal representative and successor in
                                                                                                  LBR 7026-1
                                                interest to Andres Ramirez, deceased; YOUNG
                                             23
                                                BLUE LLC, a limited liability company; and        Status Conference Date and Time:
                                             24 SANDY LE, individually and on behalf of           Date: August 4, 2020
                                                Tina Ngan Le, decedent,                           Time: 1:30 p.m.
                                             25                                                   Place: Courtroom 5D
                                             26                                                          411 W Fourth St.
                                                                       Defendant.
                                                                                                         Santa Ana, CA 92701
                                             27

                                             28
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                                              1         Plaintiff Richard A. Marshack, Chapter 7 Trustee submits the Declaration of Vanessah

                                              2 Richmond reflecting the Plaintiff’s service of:

                                              3         1.      Complaint for Preliminary Injunction, Declaratory Judgment, and Further Relief;

                                              4         2.      Summons and Notice of Status Conference; and

                                              5         3.      Notice of Required Compliance with Federal Rule of Bankruptcy Procedure 7026

                                              6 and Local Bankruptcy Rule 7026-1.

                                              7
                                                  Dated: May 21, 2020                       LANDAU LAW LLP
                                              8

                                              9

                                             10                                             By____/s/ John P. Reitman__________________
                                                                                                           John P. Reitman
                                             11
                                                                                            Special Litigation Attorneys for
                   LOS ANGELES, CALIFORNIA




                                             12                                             Plaintiff Richard A. Marshack,
L ANDAU L AW LLP
                      ATTORNEYS AT LAW




                                                                                            Chapter 7 Trustee for Eagan Avenatti, LLP
                                             13

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                                            1 JOHN P. REITMAN (State Bar No. 80579)
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                                            7 Special Litigation Attorneys for
                                              Richard A. Marshack,
                                            8 Chapter 7 Trustee for Eagan Avenatti, LLP

                                            9

                                           10                           UNITED STATES BANKRUPTCY COURT

                                           11                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
                                           12   In re                                             Case No.: 8:19-bk-13560-CB
              LOS ANGELES, CALIFORNIA
L ANDAU L AW LLP
                 ATTORNEYS AT LAW




                                           13   EAGAN AVENATTI, LLP,                              Chapter 7
                                           14                         Debtor.
                                                                                                  Adv. No.:
                                           15
                                                                                                  COMPLAINT FOR PRELIMINARY
                                           16                                                     INJUNCTION, DECLARATORY
                                                RICHARD A. MARSHACK, Chapter 7                    JUDGMENT, AND FURTHER RELIEF
                                           17   Trustee for Eagan Avenatti, LLP,

                                           18                                 Plaintiff,

                                           19           v.
                                           20
                                                THE X-LAW GROUP, PC, a professional
                                           21   corporation; FILIPPO MARCHINO, an
                                                individual; ELBA HERNANDEZ,
                                           22   individually and as personal representative
                                                and successor in interest to Andres
                                           23   Ramirez, deceased; YOUNG BLUE LLC,
                                                a limited liability company; and SANDY
                                           24
                                                LE, individually and on behalf of Tina
                                           25   Ngan Le, decedent,

                                           26                                 Defendants.
                                           27
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                                                                                      EXHIBIT 1
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                                           1          Plaintiff is Richard A. Marshack, chapter 7 trustee (“Trustee”) for the bankruptcy estate
                                           2 (“Estate”) of Eagan Avenatti, LLP (“EA”). As the Trustee was not appointed until after EA filed

                                           3 bankruptcy on September 13, 2019 (the “Petition Date”), the Trustee does not have personal
                                           4 knowledge of the facts alleged herein that occurred prior to the Petition Date and therefore makes
                                           5 those allegations on information and belief. Such allegations are based on the following: EA’s

                                           6 files; the records of EA’s former equity receiver, Brian Weiss; the testimony of EA’s former
                                           7 managing partner, Michael J. Avenatti, in various proceedings; information provided by other

                                           8 attorneys who worked at EA; and documents filed with the Los Angeles County Superior Court,

                                           9 the United States Bankruptcy Court for the Central District of California, and the United States

                                          10 District Court for the Central District of California.

                                          11                                    JURISDICTION AND VENUE
                                          12          1. In accordance with the requirements of Local Bankruptcy Rule 7008-1, the Santa Ana
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                                          13 Division of the United States Bankruptcy Court for the Central District of California (“Bankruptcy

                                          14 Court”) has jurisdiction over this adversary proceeding under 28 U.S.C. § 1334, because the
                                          15 claims asserted arise under Title 11 of the United States Code or arise in or relate to the Chapter 7

                                          16 case of the debtor, EA, currently pending in the Bankruptcy Court as Case No. 8:19-bk-13560-CB

                                          17 (“EA Bankruptcy Case”). The outcome of this adversary proceeding will have a significant effect

                                          18 on the Estate because it asserts claims for the establishment and protection of the Estate’s property

                                          19 rights and recovery of the proceeds of those rights. The claims for relief in this Complaint
                                          20 constitute a core proceeding under 28 U.S.C. § 157(b)(2)(A), (E), and (O). Regardless of whether

                                          21 this is a core proceeding, consent is given to the entry of final orders and judgment by the

                                          22 Bankruptcy Court. The defendants are notified that Fed. R. Bankr. P. 7012(b) requires each
                                          23 defendant to state whether the defendant does or does not consent to entry of final orders or
                                          24 judgment by the Bankruptcy Court.

                                          25          2. Venue is proper in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409

                                          26 because the EA Bankruptcy Case is pending in this district and division. This Court also has

                                          27 personal jurisdiction over defendants.
                                          28

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                                           1                                               PARTIES
                                           2          3. Plaintiff, Richard A. Marshack, is the chapter 7 trustee of the Estate.

                                           3          4. Defendant The X-Law Group, PC (“X-Law”), is a California professional corporation

                                           4 with a primary place of business in Los Angeles County, California.
                                           5          5. Defendant Filippo Marchino (“Marchino”) is an individual with a primary place of

                                           6 business in Los Angeles County, California, and the president of X-Law.
                                           7          6. Defendant Elba Hernandez, individually and as personal representative and successor

                                           8 in interest to Andres Ramirez, deceased (“Hernandez”), is an individual who resides in Los

                                           9 Angeles County, California. Hernandez is a former client of EA.

                                          10          7. Defendant Young Blue, LLC (“Young Blue”) is a Delaware limited liability company

                                          11 that owns or owned real estate in Los Angeles County. Young Blue is a former client of EA.
                                          12          8. Defendant Sandy Le, individually and on behalf of Tina Ngan Le, decedent (“Le”), is
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                                          13 an individual who resides in Los Angeles County, California. Le is a former client of EA.

                                          14                                     GENERAL ALLEGATIONS

                                          15          9.      EA was a California based litigation law firm formed in the mid-2000s. From

                                          16 approximately 2012 through 2019, the managing partner of EA was Michael J. Avenatti

                                          17 (“Avenatti”).

                                          18          10.     EA primarily handled plaintiff contingency matters, whereby the firm only received

                                          19 legal fees after a case was resolved in favor of EA’s client. EA’s general business practice was to
                                          20 enter into a fee agreement with each client providing that EA would be paid a certain percentage

                                          21 of the proceeds of any judgment or settlement obtained on behalf of the client and granting EA a

                                          22 lien on those proceeds to secure its right to fees.
                                          23          11.     In 2016, an arbitration claim was filed against EA and Avenatti by Jason Frank

                                          24 Law (“JFL”), the professional corporation of Jason Frank, an attorney who previously worked at

                                          25 EA. EA fared badly in the early stages of the arbitration due to Avenatti’s refusal to comply with
                                          26 discovery requests. Two days before a major discovery deadline in the arbitration, Avenatti

                                          27 orchestrated the filing of an involuntary bankruptcy case against EA in the Middle District of
                                          28 Florida on March 1, 2017, thereby staying the arbitration.

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                                           1          12.     Avenatti consented to EA being placed into Chapter 11 bankruptcy on March 10,
                                           2 2017, and the case was subsequently transferred to this Bankruptcy Court on May 16, 2017 (In re

                                           3 Eagan Avenatti, LLP, Case No. 8:17-bk-11961-CB) (“2017 Bankruptcy”).
                                           4          13.     The 2017 Bankruptcy was dismissed on March 15, 2018, as part of a structured
                                           5 settlement approved by the Bankruptcy Court. That structured settlement required EA, following

                                           6 the dismissal of the bankruptcy, to pay certain debts it owed to creditors, including JFL. Shortly
                                           7 after the 2017 Bankruptcy was dismissed, EA defaulted on its obligations under the settlement

                                           8 agreement. As a result of EA failing to make any of the required payments to JFL, the Bankruptcy

                                           9 Court entered a judgment in favor of JFL and against EA in the amount of $10 million on May 22,

                                          10 2018 (the “JFL Judgment”).

                                          11          14.     On June 11, 2018, JFL filed a motion in the 2017 Bankruptcy, seeking assignment
                                          12 of EA’s fee rights to JFL to satisfy the JFL Judgment. On July 11, 2018, the Bankruptcy Court
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                                          13 entered an order denying the request for an assignment but restraining EA from transferring its fee

                                          14 rights in a number of cases and requiring EA to disclose the receipt of fees by EA or Avenatti.
                                          15          15.     On August 31, 2018, the JFL Judgment was registered before the United States

                                          16 District Court for the Central District of California and was assigned to Chief Judge Virginia A.

                                          17 Phillips [In re Eagan Avenatti, 8:18-cv-01644-VAP-KES] (the “Judgment Enforcement Case”).

                                          18          16.     As part of the Judgment Enforcement Case, JFL moved for the appointment of an

                                          19 independent receiver for the assets of EA. Avenatti stipulated to the appointment of Brian Weiss
                                          20 as the equity receiver for EA (the “Receiver”). Pursuant to that stipulation, on February 13, 2019,

                                          21 the District Court entered a Receivership and Restraining Order against EA and Avenatti.

                                          22          17.     On September 13, 2019, the Receiver filed a voluntary petition under Chapter 7 of
                                          23 Title 11 initiating this case.
                                          24 X-Law’s Participation in Avenatti’s Theft of $2.5 Million Belonging to EA and One of EA’s

                                          25 Clients
                                          26          18.     X-Law and Marchino have had an intimate and multifaceted relationship with EA

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                                           1 and Avenatti since at least 2013.1 Among other things, Avenatti asserted during the 2017
                                           2 Bankruptcy that EA had entered into an agreement with X-Law under which EA purportedly

                                           3 agreed to assign a portion of its fee rights to X-Law, pay the salaries of X-Law employees, and
                                           4 pay the entire rent for office space shared by EA and X-Law. After the dismissal of the 2017
                                           5 Bankruptcy and entry of the JFL Judgment, Avenatti and Marchino signed an agreement dated “as

                                           6 of August 1, 2018” under which EA purported to transfer all of its personal property, including the
                                           7 computer servers on which its client files were stored, to X-Law.

                                           8           19.      Prior to the Petition Date, X-Law aided Avenatti in transferring millions of dollars

                                           9 between his various entities, including EA. X-Law also used $1,000,000 it received from an

                                          10 Avenatti entity that operated coffeeshops to pay personal expenses for Avenatti.

                                          11           20.      On approximately January 25, 2017, EA received a settlement payment of
                                          12 $2,750,000 on behalf of one of its clients, Alexis Gardner (“Gardner”). EA was entitled to a
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                                          13 portion of those funds for its 33% contingency fee plus costs, and Gardner was entitled to the rest.

                                          14 On January 26, 2017, Avenatti caused EA to transfer almost the entire settlement payment
                                          15 ($2,500,000) from EA’s client trust account to X-Law’s client trust account. The same day, X-

                                          16 Law transferred the entire $2,500,000 it received from EA to Honda Aircraft Company, LLC

                                          17 (“Honda”), to purchase a partial ownership interest in a private jet for Avenatti through Passport

                                          18 420, LLC, an entity Avenatti controlled and in which he had an interest. Neither EA nor Gardner,

                                          19 the owners of the transferred funds, received any benefit from X-Law’s transfer to Honda.
                                          20 EA’s Representation of Hernandez

                                          21           21.      EA represented Hernandez in her capacity as guardian ad litem for her minor son,

                                          22 Andres Ramirez (“Ramirez”), who was severely injured when he was struck by a car while riding
                                          23 his bicycle through an intersection in the city of Pasadena, California (“Pasadena”).
                                          24           22.      EA performed at least the following legal services on behalf of Hernandez: filing a

                                          25 tort claim with Pasadena on October 7, 2016; when the claim was rejected as untimely, filing an
                                          26

                                          27   1
                                                 Full details of that relationship can be found in the Trustee’s Motion for Issuance of an Order Under Bankruptcy
                                               Rule 2004 Compelling the Production of Documents by and the Examination of (1) The X-Law Group, PC, and (2)
                                          28   Filippo Marchino, EA Bankruptcy Case docket no. 119.

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                                                                                              EXHIBIT 1
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                                           1 application with Pasadena for leave to file a late claim; when that application was denied, filing a
                                           2 petition in the Los Angeles Superior Court (the “Superior Court”) for leave to file a complaint

                                           3 against Pasadena, which was granted; filing a complaint against Pasadena in the Superior Court;
                                           4 amending the complaint to add as a defendant Jacquelyn Licea, the driver of the car that struck
                                           5 Ramirez; and litigating the Superior Court case from its inception in June 2017 until June 2018.

                                           6           23.      On June 1, 2018, less than two weeks after the JFL Judgment was entered against
                                           7 EA, Avenatti signed a substitution of attorney under which X-Law became Hernandez’ counsel in

                                           8 place of EA. Marchino signed the substitution on behalf of X-Law. The substitution was filed

                                           9 with the Superior Court on July 26, 2018, after the Bankruptcy Court had entered the order

                                          10 restraining EA from transferring its fee rights in a number of cases, specifically including

                                          11 Hernandez’ case.
                                          12           24.      Hernandez’ case remains pending in the Superior Court under case no. BC664114
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                                          13 (the “Hernandez Case”).2

                                          14 EA’s Representation of Young Blue
                                          15           25.      Young Blue was another of EA’s clients. Young Blue owned residential property

                                          16 at 2587 Cascadia Drive, Glendale, CA. Young Blue retained EA to represent it in asserting claims

                                          17 against Karen Pena (“Pena”), the owner of the neighboring property, and Elizabeth Herron /

                                          18 Elizabeth Herron Architect (collectively, “Herron”), who performed work on Pena’s property that

                                          19 damaged Young Blue’s property.
                                          20           26.      EA performed at least the following legal services on behalf of Young Blue: filing

                                          21 a complaint against Pena and Herron in the Superior Court; obtaining entry of default against

                                          22 Pena; and obtaining a default judgment against Pena in November 2018.
                                          23           27.      On September 30, 2019, X-Law filed a substitution of attorney indicating that

                                          24 Young Blue consented to X-Law becoming counsel. Marchino signed the substitution on behalf

                                          25 of X-Law. The section of the form for former counsel to consent to the substitution is blank.
                                          26

                                          27   2
                                                 After Ramirez passed away on February 25, 2019, the complaint was amended to reflect Hernandez’ new status as
                                               survivor of and personal representative and successor in interest to Ramirez.
                                          28

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                                           1 (Since the Trustee was then in sole legal control of EA, Avenatti could no longer sign the
                                           2 substitution on EA’s behalf.)

                                           3          28.     Young Blue’s case remains pending in the Superior Court under case no.
                                           4 BC693618 (the “Young Blue Case”).
                                           5 EA’s Representation of Sandy Le

                                           6          29.     EA represented Le in connection with claims arising from the death of Le’s

                                           7 daughter, Tina Ngan Le (“Tina Le”), in a multi-vehicle automobile accident.

                                           8          30.     EA performed at least the following legal services on behalf of Le: filing a

                                           9 complaint in the Superior Court against Mario Martin Saldivar, the driver of the car that struck the

                                          10 car in which Tina Le was a passenger, and against various Doe defendants who contributed to the

                                          11 accident; obtaining an order to examine, photograph, and download information from the vehicles
                                          12 involved in the accident; and litigating the case from its inception in January 2018 until October
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                                          13 2018.

                                          14          31.     On October 1, 2018, Avenatti signed a substitution of attorney under which X-Law

                                          15 became Le’s counsel in place of EA. Marchino signed the substitution on behalf of X-Law. The

                                          16 substitution of attorney occurred after the JFL Judgment had been entered against EA, the

                                          17 Bankruptcy Court had entered the order restraining EA from transferring fee rights, and JFL had

                                          18 filed the Judgment Enforcement Case and was seeking discovery from EA and Avenatti.

                                          19          32.     Le’s case remains pending in the Superior Court under case no. BC691517 (the “Le

                                          20 Case,” and, with the Hernandez Case and the Young Blue Case, the “Cases”).

                                          21 X-Law Opposes the Estate’s Claim to Fees

                                          22          33.     X-Law has sent multiple communications to the Receiver and the Trustee

                                          23 contesting the Estate’s right to fees and/or to receive a portion of the proceeds of a settlement,
                                          24 judgment, or other recovery in the Cases. Marchino signed and/or sent each of these

                                          25 communications. Marchino also made statements to opposing counsel in at least one of the Cases
                                          26 contesting the Estate’s rights.

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                                           1                                            FIRST CLAIM FOR RELIEF
                                           2         (Against X-Law and Marchino, For Preliminary Injunction Under 11 U.S.C. § 105(a))

                                           3             34.      The Trustee incorporates by reference and realleges paragraphs 1-33 of this

                                           4 Complaint.
                                           5             35.      Under California law, as the former attorneys for Hernandez, Young Blue, and Le

                                           6 (the “Clients”), EA has a right to payment for the reasonable value of the services it provided to
                                           7 the Clients, regardless of whether or not EA has a written fee agreement with the Clients and/or a

                                           8 lien on the proceeds of any recovery.

                                           9             36.      Under California law, when the contingency fee in an action “is insufficient to meet

                                          10 the quantum meruit claims of both discharged and existing counsel, the proper . . . rule is to use an

                                          11 appropriate pro rata formula which distributes the contingent fee among all discharged and
                                          12 existing attorneys.”3
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                                          13             37.      When EA filed bankruptcy, its right to compensation in the Cases became property

                                          14 of the Estate. Any action to exercise control over that right is stayed pursuant to 11 U.S.C. § 362.
                                          15             38.      Under California Rule of Professional Conduct 1.15(c)(2), when a lawyer or law

                                          16 firm is holding funds in its trust account and “a client or other person disputes the lawyer or law

                                          17 firm’s right to receive a portion of trust funds, the disputed portion shall not be withdrawn until

                                          18 the dispute is finally resolved.”

                                          19             39.      Accordingly, if a recovery is obtained in any of the Cases, the correct procedure

                                          20 would be for X-Law to receive the complete recovery into its trust account, disburse to the client

                                          21 the net recovery remaining after deduction of costs and the contingency fee, and then hold the

                                          22 contingency fee amount in its trust account pending a judicial determination of the appropriate
                                          23 allocation of the contingency fee between the Estate and X-Law.
                                          24             40.      However, based on (1) X-Law and Marchino’s expressed belief that the Estate is

                                          25 not entitled to fees and/or to receive a portion of the proceeds of a settlement, judgment, or other
                                          26 recovery in the Cases, and (2) X-Law’s history of assisting Avenatti in misappropriating money

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                                                   Spires v. Am. Bus Lines, 158 Cal. App. 3d 211, 216 (1984).
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                                           1 that should have been used to pay EA’s fees, the Trustee believes that there is a strong risk of X-
                                           2 Law and Marchino retaining for their own benefit the entire contingency fee portion of any

                                           3 recovery in the Cases (likely without even notifying the Trustee that such a recovery has
                                           4 occurred).
                                           5          41.    Under 11 U.S.C. § 105(a), a bankruptcy court may enter “any order, process, or

                                           6 judgment that is necessary or appropriate to carry out the provisions of this title.”
                                           7          42.    In the present case, issuance of a preliminary injunction is necessary to prevent

                                           8 contingency fee funds that are proceeds of the Estate’s fee rights from being misappropriated or

                                           9 dissipated and to ensure that those funds are preserved intact until the court can rule on the

                                          10 Trustee’s substantive claims for relief under the Declaratory Judgment Act.

                                          11          43.    The Trustee has a strong likelihood of success on the merits of his claims under the
                                          12 Declaratory Judgment Act. Because California law provides that a discharged law firm is entitled
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                                          13 to payment for the reasonable value of its services, and because EA provided substantial services

                                          14 in the Cases, the Estate is entitled to some portion of the contingency fee in each Case.
                                          15          44.    Based on the fact that X-Law already participated in the misappropriation of

                                          16 hundreds of thousands of dollars to which EA was entitled as a contingency fee, there is a

                                          17 substantial risk of X-Law similarly misappropriating the Estate’s share of the contingency fees in

                                          18 the Cases absent the entry of the requested preliminary injunction.

                                          19          45.    The balance of hardships favors the Trustee. If the preliminary injunction is not

                                          20 issued, the Trustee may be unable to recover the pro rata share of the contingency fees in the

                                          21 Cases that are proceeds of property of the Estate. In contrast, if X-Law was already planning to

                                          22 comply with its ethical obligation to hold the contingency fee portion of any recovery in its trust
                                          23 account pending resolution of the competing claims, then the preliminary injunction will not cause
                                          24 any hardship whatsoever to X-Law or Marchino.

                                          25          46.    Because the proposed preliminary injunction relates only to the contingency fee

                                          26 portion of any recovery, the injunction should affect only the Estate, X-Law, and Marchino. The

                                          27 injunction will have no effect on the Clients’ rights to receive the net amount remaining after
                                          28 deduction of costs and the contingency fee from the total recovery.

                                                                                                   9


                                                                                       EXHIBIT 1
                                                                                          11
                                        Case 8:20-ap-01086-CB               Doc 3 Filed 05/21/20 Entered 05/21/20 12:02:05                                    Desc
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                                           1            47.      Accordingly, the Court should issue a preliminary injunction requiring X-Law and
                                           2 Marchino to (a) file a notice with the Court when a recovery is obtained in any of the Cases; (b)

                                           3 advise the Court of the total amount of the recovery, the amount of costs to be paid, the
                                           4 contingency fee amount, and the amount remaining for the Client; and (c) deposit the entire
                                           5 amount of the contingency fee portion of the recovery with the Clerk of the Court until the Court

                                           6 can hear and determine the Trustee’s claim for a declaratory judgment allocating those fees
                                           7 between the Estate and X-Law.

                                           8                                          SECOND CLAIM FOR RELIEF

                                           9       (Against Hernandez and X-Law, For Declaratory Judgment Under 28 U.S.C. § 2201)4

                                          10            48.      The Trustee incorporates by reference and realleges paragraphs 1-33 of this

                                          11 Complaint.
                                          12            49.      EA represented Hernandez in the Hernandez Case and performed substantial
              LOS ANGELES, CALIFORNIA
L ANDAU L AW LLP
                 ATTORNEYS AT LAW




                                          13 services on her behalf.

                                          14            50.      If and when a recovery is received in the Hernandez Case, the Estate and X-Law

                                          15 will be entitled to receive pro rata shares of the contingency fee portion of that recovery, to be

                                          16 calculated based on California law and evidence provided by each party at that time regarding the

                                          17 reasonable value of its services in the context of the overall case, the basis for the recovery, and

                                          18 the firms’ relative contributions to that recovery.

                                          19            51.      The Trustee will then request that the Court enter a declaratory judgment under 28

                                          20 U.S.C. § 2201 establishing the amount of fees to which the Estate is entitled and allocating the

                                          21 contingency fee in the Hernandez Case between the Estate and X-Law.

                                          22                                           THIRD CLAIM FOR RELIEF

                                          23       (Against Young Blue and X-Law, For Declaratory Judgment Under 28 U.S.C. § 2201)

                                          24            52.      The Trustee incorporates by reference and realleges paragraphs 1-33 of this

                                          25
                                          26   4
                                                 Hernandez is named solely because California law may require the client to be a party to any declaratory relief
                                               action seeking to establish the respective fee rights of successive contingency law firms retained by the client. The
                                          27   Trustee does not believe that it will be necessary for Hernandez to take any active part in the litigation. The same is
                                               true of Young Blue with respect to the Third Claim for Relief and Le with respect to the Fourth Claim for Relief.
                                          28

                                                                                                          10


                                                                                               EXHIBIT 1
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                                           1 Complaint.
                                           2          53.     EA represented Young Blue in the Young Blue Case and performed substantial

                                           3 services on its behalf.
                                           4          54.     If and when a recovery is received in the Young Blue Case, the Estate and X-Law

                                           5 will be entitled to receive pro rata shares of the contingency fee portion of that recovery, to be

                                           6 calculated based on California law and evidence provided by each party at that time regarding the
                                           7 reasonable value of its services in the context of the overall case, the basis for the recovery, and

                                           8 the firms’ relative contributions to that recovery.

                                           9          55.     The Trustee will then request that the Court enter a declaratory judgment under 28

                                          10 U.S.C. § 2201 establishing the amount of fees to which the Estate is entitled and allocating the

                                          11 contingency fee in the Young Blue Case between the Estate and X-Law.
                                          12                                   FOURTH CLAIM FOR RELIEF
              LOS ANGELES, CALIFORNIA
L ANDAU L AW LLP
                 ATTORNEYS AT LAW




                                          13            (Against Le and X-Law, For Declaratory Judgment Under 28 U.S.C. § 2201)

                                          14          56.     The Trustee incorporates by reference and realleges paragraphs 1-33 of this

                                          15 Complaint.

                                          16          57.     EA represented Le in the Le Case and performed substantial services on her behalf.

                                          17          58.     If and when a recovery is received in the Le Case, the Estate and X-Law will be

                                          18 entitled to receive pro rata shares of the contingency fee portion of that recovery, to be calculated

                                          19 based on California law and evidence provided by each party at that time regarding the reasonable
                                          20 value of its services in the context of the overall case, the basis for the recovery, and the firms’

                                          21 relative contributions to that recovery.

                                          22          59.     The Trustee will then request that the Court enter a declaratory judgment under 28

                                          23 U.S.C. § 2201 establishing the amount of fees to which the Estate is entitled and allocating the
                                          24 contingency fee in the Le Case between the Estate and X-Law.

                                          25                                     FIFTH CLAIM FOR RELIEF

                                          26                             (For Further Relief Under 28 U.S.C. § 2202)

                                          27          60.     The Trustee incorporates by reference and realleges paragraphs 1-33 of this

                                          28 Complaint.

                                                                                                11


                                                                                        EXHIBIT 1
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                                           1          61.    If and when a declaratory judgment is entered in favor of the Trustee on the
                                           2 Second, Third, or Fourth Claims for Relief, the Trustee requests that the Court also grant further

                                           3 relief under 28 U.S.C. § 2202 by directing the Clerk of the Court to disburse the deposited fees in
                                           4 accordance with the allocation established by the declaratory judgment.
                                           5          WHEREFORE, the Trustee, on behalf of the Estate, prays for judgment against

                                           6 defendants as follows:
                                           7          1.     On the First Claim for Relief, for a preliminary injunction requiring X-Law and

                                           8 Marchino to (a) file a notice with the Court when a recovery is obtained in any of the Cases; (b)

                                           9 advise the Court of the total amount of the recovery, the amount of costs to be paid, the

                                          10 contingency fee amount, and the amount remaining for the client; and (c) deposit the entire

                                          11 amount of the contingency fee portion of the recovery with the Clerk of the Court until the Court
                                          12 can hear and determine the Trustee’s claim for a declaratory judgment allocating those fees
              LOS ANGELES, CALIFORNIA
L ANDAU L AW LLP
                 ATTORNEYS AT LAW




                                          13 between the Estate and X-Law;

                                          14          2.     On the Second Claim for Relief, for a declaratory judgment against Hernandez and
                                          15 X-Law establishing the amount of fees to which the Estate is entitled and allocating the

                                          16 contingency fee in the Hernandez Case between the Estate and X-Law;

                                          17          3.     On the Third Claim for Relief, for a declaratory judgment against Young Blue and

                                          18 X-Law establishing the amount of fees to which the Estate is entitled and allocating the

                                          19 contingency fee in the Young Blue Case between the Estate and X-Law;
                                          20          4.     On the Fourth Claim for Relief, for a declaratory judgment against Le and X-Law

                                          21 establishing the amount of fees to which the Estate is entitled and allocating the contingency fee in

                                          22 the Le Case between the Estate and X-Law;
                                          23          5.     On the Fifth Claim for Relief, for an order directing the Clerk of the Court to
                                          24 disburse the deposited fees in accordance with any declaratory judgment entered on the Second,

                                          25 Third, or Fourth Claims for Relief; and
                                          26 / / /

                                          27 / / /
                                          28 / / /

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                                                                                       EXHIBIT 1
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                                            1        6.     For such other relief as the Court deems just and proper.
                                            2

                                            3   Dated: May 19, 2020                         LANDAU LAW LLP
                                            4                                               By_    /s/ John P. Reitman
                                                                                                   John P. Reitman
                                            5
                                                                                            Special Litigation Attorneys for
                                            6                                               Richard A. Marshack,
                                                                                            Chapter 7 Trustee for Eagan Avenatti, LLP
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              LOS ANGELES, CALIFORNIA
L ANDAU L AW LLP
                 ATTORNEYS AT LAW




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                                                                                   EXHIBIT 1
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                         ADVERSARY PROCEEDING NUMBER
                                                                                                   (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                          DEFENDANTS
                                                                                   The X-Law Group PC, a professional corporation; Filippo Marchino, an
Richard A. Marshack, Chapter 7 Trustee for Eagan Avenatti, LLP                     individual; Elba Hernandez, individually and as personal representative and
                                                                                   successor in interest to Andres Ramirez, deceased; Young Blue LLC, a limited
                                                                                   liability company; and Sandy Le, individually and on behalf of Tina Ngan Le,
                                                                                   decedent
ATTORNEYS (Firm Name, Address, and Telephone No.)                                   ATTORNEYS (If Known)
 John P. Reitman, Monica Rieder, Jack A. Reitman
 Landau Law LLP,1880 Century Park East, Suite 1101, Los Angeles, CA 90067


PARTY (Check One Box Only)                                          PARTY (Check One Box Only)
□ Debtor          □ U.S. Trustee/Bankruptcy Admin                   □ Debtor           □ U.S. Trustee/Bankruptcy Admin
□ Creditor        □ Other                                           □ Creditor         □x Other
□x Trustee                                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Preliminary injunction, 11 U.S.C. 105; Declaratory judgment, 28 U.S.C. 2201; Further relief, 28 U.S.C. 2202




                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                         □
    FRBP 7001(1) – Recovery of Money/Property                                       FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                                   □
                                                                                       61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                          □
                                                                                       68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                             □
                                                                                       63-Dischargeability - §523(a)(8), student loan
                                                                                       64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                    □
                                                                                          (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                                65-Dischargeability - other


                                                                                    □
                                                                                    FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                    □
                                                                                       71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)            1 72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                    □ 81-Subordination of claim or interest
                                                                                    FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                    □2 91-Declaratory judgment
                                                                                    FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                             if unrelated to bankruptcy case)
□x Check if this case involves a substantive issue of state law                     □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                    Demand $ TBD
Other Relief Sought


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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Eagan Avenatti, LLP                                                        8:19-bk-13560-CB
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
  Central District                                                        Santa Ana                        Catherine Bauer
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


   /s/ John P. Reitman



DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

                                                                       John P. Reitman
       5/19/2020



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.

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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 JOHN P. REITMAN (State Bar No. 80579)
 jreitman@landaufirm.com
 MONICA RIEDER (State Bar No. 263250)
 mrieder@landaufirm.com
 JACK A. REITMAN (State Bar No. 283746)
 jareitman@landaufirm.com
 LANDAU LAW LLP
 1880 Century Park East, Suite 1101
 Los Angeles, California 90067
 Telephone: (310) 557-0050
 Facsimile: (310) 557-0056
 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

 In re:
 EAGAN AVENATTI, LLP,
                                                                          CASE NO.: 8:19-bk-13560-CB
                                                                          CHAPTER:
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
RICHARD A. MARSHACK, CHAPTER 7 TRUSTEE FOR
EAGAN AVENATTI, LLP,




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
 THE X-LAW GROUP, PC, a professional corporation; FILIPPO                             [LBR 7004-1]
 MARCHINO, an individual; ELBA HERNANDEZ, individually
 and as personal representative and successor in interest to
 Andres Ramirez, deceased; YOUNG BLUE LLC, a limited
 liability company; and SANDY LE, individually and on behalf of
 Tina Ngan Le, decedent,
                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

             Hearing Date:                                Address:
             Time:                                           255 East Temple Street, Los Angeles, CA 90012
             Courtroom:                                      3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                     AP-Summons Page 1 of 4


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

John P. Reitman
Landau Law LLP
1880 Century Park East Ste 1101
Los Angeles, CA 90067
310−557−0050




Plaintiff or Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA − SANTA ANA
In re:

                                                                              CASE NO.:    8:19−bk−13560−CB

Eagan Avenatti, LLP                                                           CHAPTER:     7


                                                                              ADVERSARY NUMBER:         8:20−ap−01086−CB
                                                               Debtor(s).

Richard A. Marshack


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
The X−Law Group, PC, a professional corporation                                      PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
06/18/2020. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                August 4, 2020
             Time:                01:30 PM
             Hearing Judge:       Catherine E. Bauer
             Location:            411 W Fourth St., Crtrm 5D, Santa Ana, CA 92701



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: May 19, 2020




                                                                                        By:        "s/" James Le
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                                       EXHIBIT 2
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       Case 8:20-ap-01086-CB                       Doc 2 Filed 05/19/20 Entered 05/19/20 12:40:34                                         Desc
                                                     AP-Summons Page 3 of 4



                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Richard A. Marshack                                                          The X−Law Group, PC, a professional corporation
                                                                             Filippo Marchino
                                                                             Sandy Le, individually and on behalf of Tina Ngan Le,
                                                                             decedent
                                                                             Elba Hernandez, individually and as personal representative
                                                                             and successor in interest to Andres Ramirez, deceased
                                                                             Young Blue LLC, a limited liability company




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A

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           Case 8:20-ap-01086-CB                       Doc 3 Filed 05/21/20 Entered 05/21/20 12:02:05                                          Desc
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                                                         AP-Summons Page 4 of 4



                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________, I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   _____________________________________________________________                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC

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                            EXHIBIT 3
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                                                                      Main Document    Page 29 of 36




                                              1 JOHN P. REITMAN (State Bar No. 80579)
                                                jreitman@landaufirm.com
                                              2 MONICA RIEDER (State Bar No. 263250)
                                                mrieder@landaufirm.com
                                              3 JACK A. REITMAN (State Bar No. 283746)
                                                jareitman@landaufirm.com
                                              4 LANDAU LAW LLP
                                                1880 Century Park East, Suite 1101
                                              5 Los Angeles, California 90067
                                                Telephone: (310) 557-0050
                                              6 Facsimile: (310) 557-0056
                                              7 Special Litigation Attorneys
                                                Plaintiff Richard A. Marshack,
                                              8 Chapter 7 Trustee for Eagan Avenatti, LLP
                                              9
                                                                          UNITED STATES BANKRUPTCY COURT
                                             10
                                                            CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
                                             11
                   LOS ANGELES, CALIFORNIA
L ANDAU L AW LLP
                      ATTORNEYS AT LAW




                                             12 In re                                             Case No. 8:19-bk-13560-CB

                                             13 EAGAN AVENATTI, LLP,                              Chapter 7

                                             14                        Debtor                     Adv. No. 8:20-ap-01086-CB

                                             15                                                   PLAINTIFF’S NOTICE OF REQUIRED
                                                                                                  COMPLIANCE WITH FRBP 7026 AND
                                             16                                                   LBR 7026-1
                                             17 RICHARD A. MARSHACK, CHAPTER 7
                                                TRUSTEE FOR EAGAN AVENATTI, LLP,                  Status Conference Date and Time:
                                             18                                                   Date: August 4, 2020
                                                                    Plaintiff,                    Time: 1:30 p.m.
                                             19                                                   Place: Courtroom 5D
                                                v.                                                       411 W Fourth St.
                                             20                                                          Santa Ana, CA 92701
                                                THE X-LAW GROUP, PC, a professional
                                             21 corporation; FILIPPO MARCHINO, an
                                                individual; ELBA HERNANDEZ, individually
                                             22 and as personal representative and successor in
                                                interest to Andres Ramirez, deceased; YOUNG
                                             23
                                                BLUE LLC, a limited liability company; and
                                             24 SANDY LE, individually and on behalf of
                                                Tina Ngan Le, decedent,
                                             25
                                                                               Defendant.
                                             26
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                                              1         TO ALL DEFENDANTS:
                                              2         PLEASE TAKE NOTICE that Richard A. Marshack, Chapter 7 Trustee for Eagan
                                              3 Avenatti, LLP, and the plaintiff in the above-captioned adversary proceeding hereby gives notice

                                              4 that compliance with the requirements under Rule 7026 of the Federal Rules of Bankruptcy

                                              5 Procedure as well as Local Bankruptcy Rule (“LBR”) 7026-1 is required. A copy of LBR 7026-1
                                              6 is attached hereto as Exhibit “A.”

                                              7
                                                  Dated: May 21, 2020                      LANDAU LAW LLP
                                              8
                                              9

                                             10                                            By____/s/ John P. Reitman__________________
                                                                                                          John P. Reitman
                                             11
                                                                                           Special Litigation Attorneys for
                   LOS ANGELES, CALIFORNIA




                                             12                                            Plaintiff Richard A. Marshack,
L ANDAU L AW LLP
                      ATTORNEYS AT LAW




                                                                                           Chapter 7 Trustee for Eagan Avenatti, LLP
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                        EXHIBIT A




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    LANDAU LAW LLP, 1880 Century Park East, Suite 1101, Los Angeles, CA 90067.

A true and correct copy of the foregoing document entitled (specify):
1. Complaint for Preliminary Injunction, Declaratory Judgment, and Further Relief
2 Summons and Notice of Status Conference in Adversary Proceeding [LBR 7004-1]
3. Plaintiff’s Notice of Required Compliance with FRBP 7026 and LBR 7026-1
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 21, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Filippo Marchino, Esq.                                The X-Law Group P.C.
The X-Law Group P.C.                                  625 Fair Oaks Ave, Ste 390
625 Fair Oaks Ave, Ste 390                            South Pasadena, CA 91030-5817
South Pasadena, CA 91030-5817

                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)           , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 21, 2020                              Vanessah Richmond                                /s/ Vanessah Richmond
 Date                                      Printed Name                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
            Case 8:20-ap-01086-CB                  Doc 3 Filed 05/21/20 Entered 05/21/20 12:02:05                                     Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    LANDAU LAW LLP, 1880 Century Park East, Suite 1101, Los Angeles, CA 90067.

A true and correct copy of the foregoing document entitled (specify): Summons Service Executed Re Service of:
1. Complaint for Preliminary Injunction, Declaratory Judgment, and Further Relief
2. Summons and Notice of Status Conference in Adversary Proceeding [LBR 7004-1]
3. Plaintiff’s Notice of Required Compliance with FRBP 7026 and LBR 7026-1
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 21, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
       Richard A Marshack (TR) pkraus@marshackhays.com, rmarshack@iq7technology.com
       John P. Reitman jreitman@landaufirm.com,
        srichmond@landaufirm.com;vrichmond@landaufirm.com;avedrova@landaufirm.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 21, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Honorable Catherine E. Bauer                                     United States Trustee (SA)
United States Bankruptcy Court                                   411 W Fourth St., Suite 7160
Central District of California                                   Santa Ana, CA 92701-4593
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5085/ Courtroom 5D
Santa Ana, CA 92701-4593
                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)           , I served the
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filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 21, 2020                              Vanessah Richmond                                /s/ Vanessah Richmond
 Date                                      Printed Name                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
